Case 2:22-cv-01418-FLA-MRW Document 45-1 Filed 04/29/22 Page 1 of 13 Page ID #:715




                    EXHIBIT A




                                                                 EXHIBIT A
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Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page1 of
                                                              2 of
                                                                 1213Page
                                                                      PageIDID
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 19-2075 JVS (DFMx)                                     Date   April 14, 2021
 Title             In re Out-of-Network Substance Use Disorder Claims Against
                   UnitedHealthcare


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                        Not Present
                         Deputy Clerk                                      Court Reporter
                Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                          Not Present                                        Not Present

 Proceedings:  [IN CHAMBERS] Order Regarding Motions to Dismiss TAC
Related Cases: SACV 19-2082, 19-2083, 19-2084, 19-2085, 19-2086, 19-2087, 19-
2088, 19-2372, 20-136, 20-137, 20-138, 20-340, 20-341, 20-356.

      Before the Court are two motions to dismiss the consolidated third amended
complaint (“TAC”) of Plaintiffs DR Recovery Encinitas, LLC, MMR Services, LLC,
TML Recovery, LLC, Woman’s Recovery Center, LLC, Kool Living, Inc., Pacific Palms
Recovery, LLC, Inland Detox, Inc., Southern California Addiction Center, Inc.,
Addiction Health Alliance, LLC, Creative Care, Inc., JMG Investments, Inc., Valley
Restoration Center, Inc., Southern California Recovery Centers Oceanside, LLC, JD
Recovery, LLC, and 12 South, LLC (collectively “Plaintiffs”).

       The first motion to dismiss is filed by Defendants Viant Inc. and MultiPlan, Inc.
(together – “MultiPlan”). MultiPlan MTD, ECF No. 84. The second motion to dismiss is
filed by Defendants UnitedHealth Group, Inc., United HealthCare Services, Inc., United
HealthCare Insurance Company, UHC of California, United HealthCare Services LLC,
United Behavioral Health, Inc., United Medical Resources, Inc., OptumInsight, Inc.,
Optum Services, Inc., and Optum, Inc. (together – “United”) (collectively with MultiPlan
– “Defendants”). United MTD, ECF No. 85.

      Plaintiffs submitted a consolidated opposition to both motions to dismiss. Opp’n,
ECF No. 87. MultiPlan and United each filed a response. United Reply, ECF No. 89;
MultiPlan Reply, ECF No. 88. United also submitted a request for oral argument. ROA,
ECF No. 91.


CV-90 (06/04)                                             1 - GENERAL
                                               CIVIL MINUTES                                       Page 1 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page2 of
                                                              3 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3665
                                                                               #:717

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                           Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

    For the following reasons, the Court GRANTS IN PART AND DENIES IN
PART the motions.

                                          I. BACKGROUND

         A.      Procedural Background

       Three sets of motions to dismiss have previously been filed in this case. The Court
granted in part and denied in part MultiPlan and United’s first motions to dismiss on
February 21, 2020. First Order, ECF No. 35. Plaintiffs filed a consolidated First
Amended Complaint (“FAC”) on March 19, 2020. FAC, ECF No. 39. The Court granted
in part and denied in part MultiPlan and United’s second motions to dismiss on July 29,
2020. Second Order, ECF No. 58. Plaintiffs filed a consolidated Second Amended
Complaint (“SAC”) on August 26, 2020. SAC, ECF No. 63. The Court granted in part
and denied in part Multiplan and United’s third motions to dismiss on November 18,
2020. Third Order, ECF No. 77. Plaintiffs filed a consolidated Third Amended Complaint
(“TAC”) on January 28, 2021. TAC, ECF No. 80.

         B.      Allegations in the TAC

      The TAC asserts six causes of action: (1) claim for plan benefits under ERISA, 29
U.S.C. § 1132(a)(a)(B), (2) breach of written contract, (3) breach of implied covenant of
good faith and fair dealing, (4) breach of oral contract, (5) promissory estoppel, (6) unfair
competition. See generally TAC.

       Plaintiffs are out-of-network substance use disorder treatment providers
and clinical laboratories. Id. ¶ 31. Plaintiffs help individuals recover from alcoholism and
addiction. Id. Plaintiffs provided medically necessary, verified, preauthorized and
covered substance use disorder treatment and laboratory services to 1,304 individuals
with health insurance that was sold, insured, managed and/or administered by
Defendants. Id. The treatment and services provided by Plaintiffs include residential
detoxification and residential treatment (“RTC”), partial hospitalization/day treatment
(“PHP”), intensive outpatient (“IOP”), outpatient (“OP”), treatment planning, counseling
and behavioral therapies, medication and case management, and laboratory services. Id.

CV-90 (06/04)                                    2 - GENERAL
                                      CIVIL MINUTES                                  Page 2 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page3 of
                                                              4 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3666
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                           Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

       Defendants’ health insurance plans, for each of the 1,304 insureds at issue, pay
benefits for out-of-network substance use disorder treatment and laboratory services,
including, but not limited to, RTC, PHP, IOP, OP, diagnostic evaluations, assessment and
treatment planning, treatment and/or procedures, medication management and other
associated treatment, psychological testing, referral services, individual, family and group
therapy, provider-based case management services, crisis intervention, and laboratory
services, at varying percentages of covered charges (between 50% to 90% of covered
charges, with the majority of plans paying out-of-network benefits at 70% of covered
charges less any outstanding insured cost-sharing amounts, which Defendants deduct
from payments to Plaintiffs) until the insured’s nominal annual out-of-pocket maximum
is met at which time Defendants pay 100%. Id. ¶ 33.

       Plaintiffs allege that each of the 1,304 insureds had already met their annual
out-of-pocket maximum at the time they first received treatment or services from
Plaintiffs, or shortly thereafter. Id. The plans also pay 100% of covered charges in the
event of a “network inadequacy” or “network gap” for the services received. Id. Plaintiffs
are informed and believe, and based thereon allege, that at all times relevant herein
Defendants had an inadequate network of substance use disorder treatment providers and
clinical laboratories. Id.

       Plaintiffs obtained written assignments of benefits from each of the 1,304 insureds
at issue, by which Defendants’ insureds intended to, and did, assign to Plaintiffs not only
rights to payment of claims but to assert all rights and causes of action against Defendants
in connection with such claims. Id. ¶ 34. In reliance on the assignments of benefits,
Plaintiffs rendered the subject treatment and services to Defendants’ insureds/members.
Id. ¶ 35. Moreover, Defendants confirmed, represented, promised and warranted to
Plaintiffs through the required verification of benefits and the preauthorization process
that each of the insureds and their respective out-of-network treatments and services were
covered by health insurance plans issued, managed and/or administered by Defendants
and that Plaintiffs would be properly paid for treating Defendants’ insureds. Id.

       After providing covered treatment and services to the 1,304 insureds at issue,
Plaintiffs submitted their claims to Defendants for payment. Id. ¶ 36. Defendants were
obligated to pay Plaintiffs the applicable plan percentage of their covered charges
(between 50% to 90% of covered charges, with the majority of plans paying
CV-90 (06/04)                                    3 - GENERAL
                                      CIVIL MINUTES                                 Page 3 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
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                                             04/14/21
                                               04/29/22Page
                                                        Page4 of
                                                              5 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3667
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                             Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

out-of-network benefits at 70% of covered charges less any outstanding insured
cost-sharing amounts) until the insured’s nominal annual out-of-pocket maximum is met
at which time Defendants pay 100%. Id.

       Instead of paying Plaintiffs per the plan documents and the law, and in accordance
with Defendants’ agreements, representations and promises to Plaintiffs, Defendants
engaged in unfair, unreasonable, illegal, incomplete, fraudulent and systematic polices,
practices and decisions – with an emphasis on profits over patients – and paid Plaintiffs,
as a group, an average of 19.15% of their covered charges. Id. ¶ 37.

       During the claim submission and payment process, Defendants put Plaintiffs on
various pre-payment review and program integrity audits, and through their various
departments, Defendants repeatedly requested the same documents and information from
Plaintiffs. Id. ¶ 38 This was all an attempt by Defendants to avoid processing and paying
the claims. Id.

       Defendants failed and refused to provide Plaintiffs and the insureds with adequate
notice and/or explanation for the denial of benefits, payments or reimbursement of
claims, and failed and refused to provide Plaintiffs and the insureds with a reasonable
opportunity to engage in a meaningful claims process and procedure. Id. ¶ 38.

                                    II. LEGAL STANDARD

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the court to draw
the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678-80
CV-90 (06/04)                                    4 - GENERAL
                                      CIVIL MINUTES                                    Page 4 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page5 of
                                                              6 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3668
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                          Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where the
well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

                                       III. DISCUSSION

         A.      ERISA Claim

      Defendants present several arguments for dismissal of Plaintiffs’ ERISA claim,
which the Court addresses in turn.

                 1.    Assignment

       First, MultiPlan argues that Plaintiffs’ ERISA claim must be dismissed for lack of
standing because the SAC does not cite “language of an ERISA assignment itself.”
MultiPlan MTD at 9-10. The Court previously rejected the argument that Plaintiffs must
directly quote language from an assignment to demonstrate standing. See Third Order at
5-7. MultiPlan fails to provide any reason for why the Court should deviate from its
previous conclusion. The Court therefore rejects this basis for dismissal.

                 2.    Exhaustion

       Next, United argues that the Court must dismiss the claim for failure to plead
exhaustion of administrative remedies under the plans. United MTD at 3-8. “ERISA
exhaustion . . . is traditionally pled as an affirmative defense.” Norris v. Mazzola, 2016
WL 1588345, at *6 (N.D. Cal. Apr. 20, 2016) (collecting cases). “In the rare event that a
failure to exhaust is clear on the face of the complaint, a defendant may move for
dismissal under Rule 12(b)(6).” Albino v. Baca, 747 F.3d 1162, 1166 (9th Cir. 2014); see
Norris, 2016 WL 1588345, at *5-6 (explaining applicability of Albino to ERISA cases).
Otherwise, failure to exhaust must be raised as part of a motion for summary judgment.
Albino, 747 F.3d at 1166.

CV-90 (06/04)                                    5 - GENERAL
                                      CIVIL MINUTES                                Page 5 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page6 of
                                                              7 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3669
                                                                               #:721

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.     SACV 19-2075 JVS (DFMx)                                          Date    April 14, 2021
 Title        In re Out-of-Network Substance Use Disorder Claims Against
              UnitedHealthcare

       “Under Ninth Circuit precedent, ERISA’s court-created exhaustion requirement
applies only if the relevant plan requires exhaustion.” Greiff v. Life Insurance Company
of North America, 386 F. Supp. 3d 1111, 1113 (D. Ariz. 2019) (citing Spinedex Physical
Therapy USA Inc. v. United Healthcare of Arizona, Inc., 770 F.3d 1282, 1299 (9th Cir.
2014)). “Where plan documents could reasonably be read as making the administrative
appeals process optional, exhaustion of administrative remedies is not required.” Id.
(citing Spinedex, 770 F.3d at 1298-99). “In determining whether an ERISA plan requires
administrative exhaustion, the Plan’s terms ‘should be interpreted in an ordinary and
popular sense as would a person of average intelligence and experience.’” Id. (citing
Vaught v. Scottsdale Healthcare Corp. Health Plan, 546 F.3d 620, 628 (9th Cir. 2008)).

       Dismissal might only be appropriate for the plans cited in the TAC because it is
only for those plans that there might be a failure to exhaust that is apparent from the face
of the complaint. Albino, 747 F.3d at 1166. The Court has previously found that the
Plaintiffs’ complaint incorporates the Summary Plan Descriptions and the Certificates of
Coverage for the plans it specifically cites, meaning that they are properly considered in
determining whether the face of the complaint reflects a failure to exhaust under these
plans. See Third Order at 8. The same 31 plans cited in the SAC are incorporated by
reference in the TAC. See TAC ¶ 202. The issue is thus whether the Summary Plan
Descriptions and Certificates of Coverage for these 31 plans have exhaustion
requirements for which Plaintiffs have clearly failed to allege compliance.

       United provides with its motion a chart listing the exhaustion requirements for the
31 plans cited in the TAC. See Rowe Decl. Ex. A., ECF No. 85-3. But, Plaintiffs allege
that the “majority” of the explanations of benefits (“EOBs”) – the documents actually
provided to Plaintiffs1 – contained “no notice of appeal rights or mention of the
requirement to exhaust the appeals process.” TAC ¶ 224. The TAC then alleges that
EOBs sent to providers that do mention an appeals process merely stated that a provider,
for example, “may request reconsideration or appeal the decision by submitting
comments, documents or other information to UnitedHealthcare.” Id. (emphasis added).

         1
           The Court notes that Plaintiffs did not have access to the Summary Plan Descriptions and
Certificates of Coverage prior to this litigation, as shown by the lengthy process the Parties have gone
through as Plaintiffs seek plan documents such as these in discovery. See Collins Declaration, ECF No.
70-1.
CV-90 (06/04)                                          6 - GENERAL
                                            CIVIL MINUTES                                          Page 6 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page7 of
                                                              8 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3670
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                            Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

This language reflects Plaintiffs’ allegation that the ERISA plans do describe their
appeals process in optional terms. Id. ¶ 220.

       The Court agrees with Plaintiffs that United’s failure to properly notify the
Plaintiffs in the EOBs of the need to exhaust administrative remedies is sufficient to
obviate any exhaustion requirement. The EOB language alleged in TAC ¶ 224 eliminates
Plaintiffs’ obligation to exhaust. “[T]elling a claimant that ‘she has “a right to” an appeal
is not the same as telling a claimant she must appeal or she loses her right to challenge
the decision in court.’” Greiff, 386 F. Supp. 3d at 1114 (quoting Laura B. v. United
Health Group Co., 2017 WL 3670782, at *6 (N.D. Cal. Aug. 25, 2017)). Such a reading
of the EOB’s language regarding exhaustion is consistent with the principle that where
“plan documents could reasonably be read as making the administrative appeals process
optional, exhaustion of administrative remedies is not required.” Id. at 1113.

       United argues that it did not have an obligation to inform Plaintiffs, as provider-
assignees, about their appeal rights. United MTD at 5-7. But United itself acknowledges
that assignees take “the rights that belong to the patients at the time of assignment.” Id. at
5. As Greiff indicates, these rights include the right to be informed of the need to appeal
prior to filing a lawsuit. One court has also concluded that provider-assignees sufficiently
alleged a failure by United to provide reasonable claims procedures by not informing the
provider-assignees what the relevant plan’s review procedures were. Almont Ambulatory
Surgery Center, LLC v. UnitedHealth Group, Inc., 99 F. Supp. 3d 1110, 1179, 1181-82
(C.D. Cal. 2015). Specifically, the Almont court found that the alleged failure to provide
reasonable claims procedures violated 29 U.S.C. § 1133(2) and thereby exempted the
plaintiffs from needing to exhaust administrative remedies. Id. While Plaintiffs here do
allege that a “minority” of EOBs did include some discussion of the administrative
remedies – unlike in Almont – Almont is still instructive for the general principle that
provider-assignees have equal rights to be informed about administrative remedies as
patients.

       United therefore did have an obligation to instruct Plaintiffs that they must appeal
adverse decisions to avoid losing the right to litigate. Plaintiffs’ allegations that United
failed to do so are sufficient to avoid dismissal for failure to exhaust. The Court thus
DENIES United’s motion to dismiss Plaintiffs’ ERISA claims for failure to plead
exhaustion.
CV-90 (06/04)                                    7 - GENERAL
                                      CIVIL MINUTES                                    Page 7 of 12
Case
Case2:22-cv-01418-FLA-MRW
     8:19-cv-02075-JVS-DFM Document 45-1
                                    92 Filed
                                         Filed
                                             04/14/21
                                               04/29/22Page
                                                        Page8 of
                                                              9 of
                                                                 1213Page
                                                                      PageIDID
                                                                             #:3671
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                           Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare


                 3.    MultiPlan as a Defendant

       Although Plaintiffs have stated an ERISA claim, MultiPlan still contends that
Plaintiffs have not plausibly established that MultiPlan is a proper defendant. MultiPlan
MTD at 10-15. The parties agree that the key issue is whether MultiPlan qualifies as a
fiduciary. See MultiPlan MTD at 12; Opp’n at 21. “Suits under § 1132(a)(1)(B) to
recover benefits may be brought ‘against the plan as an entity and against the fiduciary of
the plan.’” Spinedex, 770 F.3d at 1297 (quoting Hall v. Lhaco, Inc., 140 F.3d 1190, 1194
(8th Cir.1998)) (emphasis added). A fiduciary is any entity that “exercises any
discretionary authority or discretionary control respecting management of such plan or
exercises any authority or control respecting management or disposition of its assets ...
[or] has any discretionary authority or discretionary responsibility in the administration of
such plan.” 29 U.S.C. § 1002(21)(A).

       The Court previously concluded that the SAC lacked sufficient allegations to make
a claim that MultiPlan was a fiduciary plausible. Third Order at 10-11. The TAC builds
on the SAC by adding allegations that United, who is named expressly as the fiduciary in
the relevant ERISA plans, “delegated to MultiPlan its discretionary authority to
determine the amount of benefits owed for medically necessary covered services.” TAC ¶
206. Specifically, the TAC alleges that there was “a service agreement that incentivized
MultiPlan to reduce the amount of benefits paid to Plaintiffs.” Id. MultiPlan then
determined the amount of benefits owed by “using MultiPlan’s pricing database of
healthcare claims data that is wholly unrepresentative of amounts actually charged by or
paid to similar medical providers in Plaintiffs’ surrounding area.” Id. The amounts
determined were “unreasonably low . . . relative to the reimbursement amounts that
would have been generated if United and MultiPlan instead had relied on the
reimbursement methodologies set forth in the plans.” Id.

       Notably, one of the cases that MultiPlan cites, ILWU-PMA Welfare Plan Board of
Trustees, v. Connecticut General Life Ins. Company, 2015 WL 9300519, at *6 (N.D. Cal.
Dec. 22, 2015), specifically found defendants to be fiduciaries because they processed
claims “according to their own preferred framework without regard to the limitations of
the plan.” This is exactly what is alleged here: Plaintiffs assert that MultiPlan used a
pricing database in determining the amounts of benefits owed that consisted of
CV-90 (06/04)                                    8 - GENERAL
                                      CIVIL MINUTES                                  Page 8 of 12
Case
 Case8:19-cv-02075-JVS-DFM
       2:22-cv-01418-FLA-MRWDocument
                              Document
                                     9245-1
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                                               04/14/21
                                                    04/29/22
                                                          PagePage
                                                               9 of 12
                                                                    10 ofPage
                                                                          13 Page
                                                                              ID #:3672
                                                                                    ID
                                      #:724
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                           Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

unrepresentative amounts charged and relied on methodologies different from those set
forth in the plans. While it might turn out following discovery that these allegations are
unfounded, they are sufficient to survive a motion to dismiss.

         The Court DENIES the motion to dismiss with respect to MultiPlan.

         B.      Breach of Implied Covenant of Good Faith and Fair Dealing

       Previously, the Court has twice dismissed Plaintiffs’ claim because “a claim for
breach of the implied covenant is superfluous if it merely restates the claim for breach of
contract.” Second Order at 10 (quoting Zepeda v. PayPal, Inc., 777 F. Supp. 2d 1215,
1221 (N.D. Cal. 2011)); see also Third Order at 12. “If the allegations do not go beyond
the statement of a mere contract breach and relying on the same alleged acts, simply seek
the same damages or other relief already claimed in a companion contract cause of action,
they may be disregarded as superfluous as no additional claim is actually stated.” Id.
(quoting Careau & Co. v. Security Pacific Business Credit, Inc., 222 Cal. App. 3d 1371,
1395 (1990)).

       Plaintiffs attempt to build on the allegations in the SAC by adding TAC ¶ 257,
which alleges the following conduct by Defendants: “denying and underpaying benefits
without any justification, unreasonably delaying adjudication of Plaintiffs’ claims in an
oppressive effort to force Plaintiffs to accept less than what they are owed under the
plans, and leaving Plaintiffs without any notice of a right to appeal Defendants’ adverse
benefit determinations and forcing Plaintiffs incur the unreasonable expense of attorney
fees and litigation costs to pursue the wrongfully denied and withheld benefits.”

        United accurately points out that the TAC’s new allegations are the same
allegations made previously in SAC ¶ 244, which is now TAC ¶ 256. United MTD at 9-
10; see TAC ¶¶ 256(f) (alleging that Defendants “[c]ompel[ed] Plaintiffs to institute
litigation to recover amounts due on the claims at issue by offering substantially less than
the amounts owed”); 256(g) (alleging that Defendants “[d]elay[ed] the investigation and
payment of the claims at issue by requiring Plaintiffs to submit multiple reports and
documents that contain substantially the same information”). The Court has previously
held that allegations that Defendants withheld proper payments, interpreted plans in an
unduly restrictive manner, and forced Plaintiffs to institute litigation to recover benefits
CV-90 (06/04)                                    9 - GENERAL
                                      CIVIL MINUTES                                  Page 9 of 12
Case
  Case
     8:19-cv-02075-JVS-DFM
       2:22-cv-01418-FLA-MRW
                           Document
                             Document
                                    92 45-1
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                                              04/14/21
                                                    04/29/22
                                                         PagePage
                                                              10 of 11
                                                                    12 ofPage
                                                                          13 Page
                                                                              ID #:3673
                                                                                   ID
                                     #:725
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                             Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

were insufficient to distinguish the claim for breach of the implied duty of good faith and
fair dealing from the breach of contract claim. Second Order at 10. The new allegations in
the TAC reiterate the allegations that the Court has previously found to be insufficient.

        Although Plaintiffs point to a series of California cases that state that claims for
breach of the implied covenant of good faith and fair dealing in insurance contracts leads
to tort liability instead of contract liability, see Opp’n at 22-24 (citing cases), these cases
have no bearing on what is required to state a claim for breach of the implied covenant in
the first place. They merely discuss the remedies available for plaintiffs who do state a
claim for breach of the implied covenant of good faith and fair dealing. The cases
therefore do not change the Court’s conclusion that Plaintiffs have failed to distinguish
their claim from an ordinary breach of contract claim.

     As such, the Court DISMISSES Plaintiffs’ claim for breach of the implied
covenant of good faith and fair dealing.

         C.      UCL Claim

       Next, the Court considers whether Plaintiffs’ UCL claim survives. The Court
previously ruled that Plaintiffs could not state a claim under the UCL because they did
not show that they were “original, injured claimant[s]” who had standing to sue under the
UCL. Third Order at 12-13. Without such a showing, Plaintiffs could not overcome the
California Supreme Court’s ruling that “[t]o allow a noninjured assignee of an unfair
competition claim to stand in the shoes of the original, injured claimant would confer
standing on the assignee in direct violation of the express statutory requirement in the
unfair competition law[.] . . . [A] private action under that law [must] be brought
exclusively by a ‘person who has suffered injury in fact and has lost money or property as
a result of the unfair competition.’” Amalgamated Transit Union, Local 1756, AFL-CIO
v. Superior Court, 46 Cal. 4th 993, 1002 (2009) (quoting Cal. Bus. & Prof. Code §
17204) (emphasis in original).

       Plaintiffs build on the SAC by including in the TAC allegations that they have
suffered a “direct injury . . . in the form of lost revenue necessary to keep their businesses
in operation.” TAC ¶ 279. The Court concludes that this is sufficient to state a claim. The
core dispute between the Parties is whether it matters that Plaintiffs’ injury stems from
CV-90 (06/04)                                   10 - GENERAL
                                      CIVIL MINUTES                                    Page 10 of 12
Case
  Case
     8:19-cv-02075-JVS-DFM
       2:22-cv-01418-FLA-MRW
                           Document
                             Document
                                    92 45-1
                                        Filed Filed
                                              04/14/21
                                                    04/29/22
                                                         PagePage
                                                              11 of 12
                                                                    12 ofPage
                                                                          13 Page
                                                                              ID #:3674
                                                                                   ID
                                     #:726
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                           Date   April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

the assignments that the Plaintiffs received from patients. See United MTD at 11; Opp’n
at 24. Plaintiffs’ receipt of the assignment of insurance benefits under ERISA is
distinguishable from the situation in Amalgamated Transit, in which the relevant union
plaintiffs sued in a representative capacity on behalf of employees who assigned their
UCL claims to the unions. Amalgamated Transit, 46 Cal. 4th at 1001; Summit Estate, Inc.
v. United Healthcare Insurance Co., 2020 WL 5436655, at *9 n.3 (N.D. Cal. Sept. 10,
2020) (making the same distinction). Here, by contrast, Plaintiffs’ “UCL claim is
premised on its own injuries arising from United’s alleged conduct in violation of the
UCL, in the form of having received a lower payment from United . . . . These alleged
injuries are cognizable under the UCL.” Summit Estate, 2020 WL 5436655, at *9.

       United attempts to rely on In re Wellpoint, Inc. Out-of-Network UCR Rates
Litigation, 903 F. Supp. 2d 880, 898-99 (C.D. Cal. 2012), a case which found that
healthcare provider plaintiffs who had been assigned the right to collect reimbursement
from their patients’ insurers did not have standing to assert UCL claims. The reasoning of
Wellpoint is inapplicable, however, for it relies on the idea that the plaintiffs “seek to
recover derivatively for the injuries inflicted upon their subscriber-patients, and not their
own injuries.” Id. at 899. Such is not the case here, for Plaintiffs allege that they
themselves did not receive the money that they were entitled to by virtue of patients’
assignment to them of the right to seek insurance benefits under ERISA. Plaintiffs were
not assigned solely the right to sue under the UCL. The Court therefore DENIES the
motion to dismiss with respect to the UCL claims.

         D.      Civil Conspiracy

      The Court agrees with MultiPlan that the allegation as to civil conspiracy fails.
MultiPlan MTD at 7-9; see TAC ¶ 30. The Court has previously granted MultiPlan’s
motion to dismiss this theory and Plaintiffs have not defended it. See Second Order at 13;
Third Order at 13. The Court therefore DISMISSES the civil conspiracy theory.

         E.      Remaining Claims

      MultiPlan requests that the Court reconsider its rulings with respect to the
remaining claims. MultiPlan MTD at 18. MultiPlan provides no argument as to why the
Court should reconsider its previous conclusions. Thus, the Court adopts its previous
CV-90 (06/04)                                    11 - GENERAL
                                       CIVIL MINUTES                                 Page 11 of 12
Case
  Case
     8:19-cv-02075-JVS-DFM
       2:22-cv-01418-FLA-MRW
                           Document
                             Document
                                    92 45-1
                                        Filed Filed
                                              04/14/21
                                                    04/29/22
                                                         PagePage
                                                              12 of 13
                                                                    12 ofPage
                                                                          13 Page
                                                                              ID #:3675
                                                                                   ID
                                     #:727
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 19-2075 JVS (DFMx)                                     Date     April 14, 2021
 Title          In re Out-of-Network Substance Use Disorder Claims Against
                UnitedHealthcare

findings as to these claims and DENIES Defendants’ motions to dismiss as to these
claims.

                                      IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN
PART the motion. Having considered United’s request for oral argument, the Court
concludes that arguments were sufficiently addressed in the briefing papers. United’s
request for oral argument is therefore DENIED.

                 IT IS SO ORDERED.



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CV-90 (06/04)                                   12 - GENERAL
                                      CIVIL MINUTES                                             Page 12 of 12
